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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                NORTHERN DIVISION


UNITED STATES OF AMERICA,

        Plaintiff,                         CASE NO: 09-20536-18

v.                                         DISTRICT JUDGE THOMAS L. LUDINGTON
                                           MAGISTRATE JUDGE CHARLES E. BINDER
FINESSE LATCHISON,

        Defendant.
                                           /


                   MAGISTRATE JUDGE’S REPORT, FINDINGS AND
                 RECOMMENDATION CONCERNING PLEA OF GUILTY


I.      REPORT AND FINDINGS

        This case was referred to the undersigned Magistrate Judge pursuant to 28 U.S.C. §§

636(b)(1)(B) and 636(b)(3) for purposes of receiving, on consent of the parties, Defendant’s offer

of a plea of guilty. Defendant and his counsel appeared before me on . In open court, I examined

Defendant under oath, confirmed Defendant’s consent, and then advised and questioned Defendant

regarding each of the inquiries prescribed by Rule 11(b) of the Federal Rules of Criminal

Procedure.

        Based upon Defendant’s answers and demeanor, I HEREBY FIND: (1) that Defendant

is competent to tender a plea; (2) that Defendant’s plea was knowingly, intelligently made; and (3)

that the offense to which Defendant pleaded guilty is supported by an independent basis in fact

containing each of the essential elements of the offense. Therefore, I have ordered the preparation

of a presentence investigation report.
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II.    RECOMMENDATION

       For the reasons set forth above, IT IS RECOMMENDED that, subject to the Court’s

consideration of the plea agreement pursuant to Rule 11(c) of the Federal Rules of Criminal

Procedure, Defendant’s plea be accepted, Defendant be adjudged guilty and the Court impose

sentence.



III.   REVIEW

       Pursuant to Rule 72(b)(2) of the Federal Rules of Civil Procedure, “[w]ithin 14 days after

being served with a copy of the recommended disposition, a party may serve and file specific

written objections to the proposed findings and recommendations. A party may respond to another

party’s objections within 14 days after being served with a copy.” FED. R. CIV. P. 72(b)(2). See

also 28 U.S.C. § 636(b)(1). Failure to file specific objections constitutes a waiver of any further

right of appeal. Thomas v. Arn, 474 U.S. 140, 106 S. Ct. 466, 88 L. Ed.2d 435 (1985); Howard

v. Sec’y of Health & Human Servs., 932 F.2d 505 (6th Cir. 1991); United States v. Walters, 638

F.2d 947 (6th Cir. 1981). The parties are advised that making some objections, but failing to raise

others, will not preserve all the objections a party may have to this Report and Recommendation.

Willis v. Sec’y of Health & Human Servs., 931 F.2d 390, 401 (6th Cir. 1991); Smith v. Detroit

Fed’n of Teachers Local 231, 829 F.2d 1370, 1373 (6th Cir. 1987). Pursuant to E.D. Mich. LR

72.1(d)(2), a copy of any objections is to be served upon this Magistrate Judge.



                                                     s/C   harles`EB      inder
                                                    CHARLES E. BINDER
Dated: February 10, 2012                            United States Magistrate Judge




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                                      CERTIFICATION

       I hereby certify that this Report and Recommendation was electronically filed this date,
electronically served on Libby Dill and John Minock, and served on U.S. District Judge Thomas
Ludington in the traditional manner.

Date: February 10, 2012                  By    s/Jean L. Broucek
                                         Case Manager to Magistrate Judge Binder




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